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15   Counsel for Plaintiffs

16

17                                  UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA

19                                          SAN FRANCISCO DIVISION

20   DANTE DEMARTINI, et al.,                              Case No. 3:22-cv-08991-JSC

21                            Plaintiffs,
                                                           REPLY IN SUPPORT OF MOTION TO
22          v.                                             HOLD SEPARATE
23
     MICROSOFT CORPORATION, a Washington                   Hon: Jacqueline Scott Corley
24   corporation,
                                                           Date: November 16, 2023
25                            Defendant.                   Time: 10:00 a.m.
                                                           Courtroom: 8 - 19th Floor
26

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 1          Microsoft’s Opposition to Plaintiffs’ Motion to Hold Separate largely fails to respond to

 2   the substance of Plaintiffs’ motion. For example, Defendant has not advanced any argument—

 3   and therefore waives any assertion—that it would be harmed by granting the equitable relief

 4   requested. Instead, Microsoft argues that this Court lacks the power and discretion to impose the

 5   equitable relief sought. Moreover, Microsoft’s contention that the Winter factors are not satisfied

 6   here fails to acknowledge and respond to the Court’s prior order denying Plaintiffs’ Motion for

 7   Preliminary Injunction. In the Court’s prior order, Microsoft asserted, and the Court accepted,

 8   that Microsoft would maintain Activision as a wholly separate subsidiary. Indeed, the Court held

 9   that Plaintiffs could not meet the irreparable harm element on the motion for preliminary

10   injunction in part because it found that Microsoft would be readily able to divest from Activision

11   after the merger. Microsoft wholly fails to respond to the fact that Plaintiffs are asking the Court

12   simply to ensure that divestiture remains a viable remedy now that Activision is owned by

13   Microsoft.

14          Microsoft’s Opposition makes only one argument: that the Court is powerless to grant

15   Plaintiffs’ requested relief because the Winter factors are not met. But Microsoft misjudges this

16   Court’s power. “District Courts, in the framing of equitable decrees, are clothed ‘with large

17   discretion to model their judgments to fit the exigencies of the particular case.’” United States v.

18   E. I. du Pont de Nemours & Co., 353 U.S. 586, 607–08 (1957) (quoting International Salt Co. v.

19   United States, 332 U.S. 392, 400–401 (1947)). That discretion is particularly applicable here,

20   because Plaintiffs’ requested relief seeks only to ensure that the factual premise on which the

21   Court relied to deny Plaintiffs’ motion for preliminary injunction remains as the Court assumed it

22   would. This Court has far more power than Microsoft gives it credit. “[I]it must always be kept

23   in mind that interim injunctive relief is rooted in principles of equity and is fundamentally

24   committed to the sound discretion of the trial court.” People v. Uber Techs., Inc., 56 Cal. App.

25   5th 266, 272 (2020) (discussing Winter v. Nat. Res. Def. Council, Inc. 555 U.S. 7, 20 (2008)

26   (Winter)). “The essence of equity jurisdiction has been the power of the Chancellor to do equity

27   and to mould each decree to the necessities of the particular case. Flexibility rather than rigidity

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 1   has distinguished it.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 312 (1982) (quoting Hecht

 2   Co. v. Bowles, 321 U.S. 321, 329 (1944)).

 3          Moreover, even assuming the Winter factors control here, they are satisfied. As to the

 4   factors of balancing the equities and the public interest, Microsoft concedes that the equities tip

 5   sharply in Plaintiffs’ favor by wholly failing to raise any contrary argument. In Plaintiffs’ Motion,

 6   Plaintiffs noted that Microsoft already assured the Court that it would hold Activision as a

 7   separate entity. See ECF No. 276. at 6. Plaintiffs also established through the deposition

 8   testimony of Ms. Amy Hood that Microsoft will not be harmed if the Court were to grant

 9   Plaintiffs’ requested relief. See id. at 7–8. Microsoft’s Opposition puts forward no shred of

10   evidence or even assertion that Microsoft would be harmed in any way if the Court enters

11   Plaintiffs’ requested relief. Microsoft therefore concedes that there would be no harm to

12   Microsoft. Microsoft waives any argument to the contrary. The balance of the equities and public

13   interest therefore tip far in favor of granting relief, because there are no equities favoring denying

14   the relief. See generally United States v. Trib. Publ'g Co., No. CV1601822ABPJWX, 2016 WL

15   2989488, at *5 (C.D. Cal. Mar. 18, 2016) (“The public interest and the balance of hardships

16   inquiries are interrelated.”). Moreover, assuming Plaintiffs prevail at trial on the merits, and show

17   that the merger might lessen competition, it would without question be in the public interest to

18   remedy the unlawful merger by unwinding it and reinstating the pre-merger status quo. This

19   motion merely seeks to preserve the efficacy of divestiture.

20          As to the factor of irreparable harm, Plaintiffs meet this factor here because it is a

21   different inquiry than the prior motion for preliminary injunction. As Plaintiffs noted in their

22   Motion to Hold Separate, ECF No. 276 at 7, the Court’s order denying Plaintiffs’ motion for

23   preliminary injunction held that Plaintiffs could not meet the irreparable harm element in part

24   because Microsoft would hold Activision separate and apart from Microsoft. See ECF No. 189 at

25   8 (“[T]he plaintiff’s injury could be immediate only if the merger, or particular aspects of the

26   merger, could not be undone.”); id. (“Plaintiffs have not demonstrated that [the merger cannot be

27   undone later], especially given that following the merger Activision will continue to exist as a

28   subsidiary of Microsoft.”). Thus, the Court held that Plaintiffs could not show irreparable harm


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 1   sufficient to grant a preliminary injunction, precisely because Microsoft would hold Activision as

 2   a separate entity and not “scramble the eggs” in a manner that would make divestiture

 3   significantly more difficult. Given that the Court found that Plaintiffs would suffer no irreparable

 4   harm because they could seek divestiture after the acquisition, there can be no genuine dispute

 5   that if Microsoft were now allowed to harm Plaintiffs’ ability to seek divestiture—the very

 6   remedy that was held to ensure that Plaintiffs would not suffer irreparable harm previously—

 7   Plaintiffs would suffer irreparable harm.

 8          Thus, the irreparable harm inquiry in Plaintiffs’ current motion to preserve their remedy

 9   of divestiture is different than their previous request for a preliminary injunction. The Court

10   denied the motion for preliminary injunction on the ground that harm was not yet imminent

11   because Plaintiffs could seek divestiture after the acquisition. Now, Plaintiffs seek to preserve

12   that remedy and their ability to regain the status quo if they prevail. Plaintiffs will be irreparably

13   harmed if Microsoft’s actions diminish Plaintiffs’ ability to win a full unwinding of the merger to

14   regain the status quo. See ECF No. 189 at 7 (discussing the presence of irreparable harm where a

15   defendant would “rapidly restructure the newly-acquired company and its assets and disable the

16   acquired chain from operating independently of the parent” because it would then be “extremely

17   difficult” to unwind the merger (quoting California v. Am. Stores Co., 697 F. Supp. 1125, 1134

18   (C.D. Cal. Sept. 29, 1988)).

19          Microsoft makes no argument to the contrary. Indeed, Microsoft cannot deny that if

20   Microsoft were to scramble Activision and Microsoft in a manner that would (1) “disable the

21   acquired [company] from operating independently of the parent”; and (2) make unwinding the

22   merger “extremely difficult,” Plaintiffs would be irreparably harmed. Id. Microsoft concedes as

23   much by not arguing otherwise. Instead of addressing Plaintiffs’ motion, Microsoft simply cites

24   to the Court’s prior order which held that Plaintiffs had failed to meet the irreparable harm

25   element on a different motion and says that the prior ruling is applicable here. But the analysis on

26   irreparable harm is different in this motion because Plaintiffs are merely seeking to preserve their

27   ability to seek divestiture—a remedy that the Court relied on to deny Plaintiffs’ motion for

28   preliminary injunction previously.


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 1           As to the final factor, the likely success on the merits, Plaintiffs meet that factor too.

 2   Importantly, under the “sliding scale” approach to the Winter elements, “if a plaintiff can only

 3   show that there are ‘serious questions going to the merits’—a lesser showing than likelihood of

 4   success on the merits—then a preliminary injunction may still issue if the ‘balance of hardships

 5   tips sharply in the plaintiff's favor,’ and the other two Winter factors are satisfied.” All. for the

 6   Wild Rockies v. Peña, 865 F.3d 1211, 1217 (9th Cir. 2017) (emphasis in original) (quoting Shell

 7   Offshore, Inc. v. Greenpeace, Inc., 709 F.3d 1281, 1291 (9th Cir. 2013)); Greater Yellowstone

 8   Coal. v. Timchak, 323 F. App’x 512, 513–14 (9th Cir. 2009) (the Ninth Circuit “has consistently

 9   applied an alternative ‘sliding-scale’ test under which a preliminary injunction may be granted

10   where the plaintiff demonstrates either a combination of probable success on the merits and the

11   possibility of irreparable injury or that serious questions are raised and the balance of hardships

12   tips sharply in his favor.”).

13           As discussed above, the equities tip sharply in Plaintiffs favor and Microsoft does not

14   argue otherwise. Thus, Plaintiffs need only show “that serious questions are raised.” As was

15   shown in Plaintiffs’ prior motion for preliminary injunction, See ECF No. 135, there are certainly

16   serious questions going to the merits of whether this merger might substantially lessen

17   competition in numerous video game markets. Indeed, in denying Plaintiffs’ motion for

18   preliminary injunction, the Court assumed, without deciding, that Plaintiffs would likely succeed

19   on the merits and divestiture would therefore be required. See ECF No. 189 at 1, 5.

20           Plaintiffs’ motion for equitable relief merely seeks to preserve their ability to seek

21   effective divestiture, which was the bedrock of the Court’s order denying the motion for

22   preliminary injunction. Now that the merger has consummated, and given Microsoft’s prior

23   assertions and the basis for the Court’s previous order, Microsoft must be precluded from

24   scrambling the assets and personnel of Activision and Microsoft such as to deny or diminish

25   Plaintiffs’ ability to achieve divestiture should they prevail on the merits. Despite Microsoft’s

26   assertions that the Court’s power is limited, the Court has ample power to ensure that this merger

27   may be fully unwound if necessary, after a trial on the merits. Plaintiffs ask that the Court ensure

28   that divestiture remains a viable option.


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